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     May 17, 2020                                                                                R CEIVED
    United States Federal Courthouse Annex
    ATTN: Honorable Judge Emily Marks
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    1 Church Street                                                                          DEBRA P. HACKETT, CLK
    Montgomery, AL 36104
                                                                                                       DISTRICT COURT
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    RE: James Nekvasil Et Al
              vs
       U.S. Bureau of Prisons

    Case #: 2:20-CV-00-274-ECM-WC

    Honorable Judge Marks:

    I am an inmate at FPC Montgomery. My inmate registration number is 25482-075. I arrived May 7, 2019 and have served 25%
    of my gross sentence. Having never received any disciplinary action since arriving, I am truly a model inmate.

    Since the inception of the COVID-19 epidemic in the U.S., specifically in the federal prison system, I have been very suspect of
    the Bureau of Prison's regard for inmate health and safety. With the number of cases and deaths within the BoP, I feel that my
    suspicions are very well founded. Over time, I have come to realize that the BoP not only has little regard for inmate safety, but
    willfully puts inmates in situations where we are completely unprotected and vulnerable to the virus. The genesis of this
    communication to you is to "pull back the curtain" on the BoP, and give you, Judge Marks, some insight on the actual willful
    neglect of the BoP with regard to inmate health and safety.

    Please understand, the listing below is by no means exhaustive. In my perception, it is simply some of the most egregious
    examples of willful neglect by the staff of FPC Montgomery. The irony is that the Warden routinely tells us that we are safer
    here than at our individual homes. He can not be more wrong; at my horne, I can control my environment.

        --Correctional officers enter our dorms 8 times per day to count us. Routinely, on these counts, staff wear no mask.
          Dr. Fauci with the Trump Administration has explained many times that wearing a mask is to protect the individuals
    from the person wearing the mask. Staff require that we, as inmates, don a mask 100% of the time in their presence.         This
    tells me that staff understand that they need to be protected from inmates but that inmates do not need to be           protected
    from staff. We live in a closed community, meaning that the virus must be brought into the facility. In this     case, the mode
    of transport is the staff of FPC Montgomery, yet they refuse to protect us from themselves.
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       -- a wear the same gloves whiles searching various inmates.

      --Medical staff does not change gloves between inmates for TB test and phlebotomy procedures. I have personally
    experienced this during my TB test.

       —UNICOR workers leave the compound daily and return living among the general inmate population: Again, potential
    carriers of the virus and infecting the compound.

       --High touch surfaces, i.e., door knobs, hand rails, remote controls, phones, computer keyboards and mouse, are rarely
    disinfected.

      —"Runners" going from dorm to dorni transporting contraband have the potential to carrier the virus from dorm to dorm.
   Staff is well aware of these "runners" but choose to do nothing about the situation. Runners have been caught by staff
   and returned to general population.

   I have very strong convictions regarding not only my health and safety,' but the safety of all inmates. It is with these convictions
   that I stress to you, please force the BoP to either protect us unconditionally, or release us as directed by Attorney General Barr,
   so that we can protect ourselves. In my observations, it is not only impossible for the BoP to protect us, but the BoP actually
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has little interest in protecting us. The BoP is a completely reactive organization. l implore you, Judge Marks, please be
proactive to keep people in FPC Montgomery from dying as they are dying in other federal prisons. The BoP has proven its
inability in other federal prisons by allowing inmates to die. Please do not let them further prove this inability with us. Thank
you for your consideration.

Best Regards,

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